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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


RICHARD COOEY, et al.,

                 Plaintiff,

       v.                                              Case No. 2:04-cv-1156
                                                       JUDGE GREGORY L. FROST
TED STRICKLAND, et al.,                                Magistrate Judge Mark R. Abel

                 Defendants.


                                              ORDER

       This matter is before the Court for consideration of the September 24, 2008 Motion to

Participate in Plaintiff Biros’ Preliminary Injunction Discovery and Evidentiary Hearing

Proceedings filed by Plaintiffs James Conway and Marvin Johnson.1 (Docs. # 401, 402.) In this

motion, the moving plaintiffs seek permission to participate in discovery proceedings related to

the December 15, 2008 hearing on Kenneth Biros’ preliminary injunction. Conway and Johnson

also seek to participate in the actual hearing. None of the arguments Conway and Johnson offer

to support these requests are persuasive.

       Conway and Johnson argue that as plaintiffs, they are entitled to discovery in this

litigation. The Court agrees. This Court also recognizes, however, that a case schedule

affording the parties ample time for discovery will be set and that the December 15, 2008

hearing is not a trial on the merits of this action. Rather, that hearing involves one specific

plaintiff and whether he–only he–is entitled to a preliminary injunction. The outcome of that

hearing will not and can not prove dispositive for the remaining plaintiffs in this litigation; in


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            Conway and Johnson filed the motion on the docket twice. (Docs. # 401, 402.)
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fact, the hearing can not even provide a conclusive decision on the merits of Biros’ claims. This

is because any findings of fact and conclusions of law made by a district court in addressing a

request for injunctive relief are not binding at a trial on the merits. See United States v. Edward

Rose & Sons, 384 F.3d 258, 261 (6th Cir. 2004) (citing Univ. of Texas v. Camenisch, 451 U.S.

390, 395 (1981)). Thus, the argument by Conway and Johnson that they must participate to

protect their claims rings hollow.

       Conway and Johnson also assert that participation is required to avoid redundant

discovery proceedings and to preserve judicial resources. Although the requested participation

might avoid some redundancy, mere overlap in discovery is insufficient cause under these

circumstances to permit parties to intervene in preliminary injunction proceedings that do not

affect their claims. To the degree there may be eventual redundant discovery in this litigation,

the Court concludes that this is both inherent to such multi-party litigation and acceptable.

       Additionally, to the degree that the requested participation might theoretically conserve

judicial resources, such as by avoiding multiple discovery disputes, the Court credits this goal

but concludes that such conservation would be at best minimal. Moreover, the requested

participation might in fact hinder the proceedings by introducing additional parties into a

proceeding unnecessarily, which could lead to discovery disputes related to the December 15,

2008 hearing that would otherwise not exist.

       Finally, Conway and Johnson make the curious assertion that they must be permitted to

participate to “prevent Biros or Defendants from gaining an unfair advantage by getting a ‘first

bite of the apple’ when it comes to developing facts before Conway or Johnson have a chance to

develop their claims.” (Doc. # 401, at 3; Doc. # 402, at 3.) This odd argument overlooks the


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fact that neither Conway nor Johnson are litigating claims against Biros. It also ignores the fact

that the merits of this case will not be decided on the basis of which party prepares first, or

argues first to the Court. The facts will be what the facts will be, regardless of the timing of their

“development.”

       Given the foregoing, this Court concludes that the requested participation by Conway and

Johnson is not necessary to preserve their right to discovery or to protect the development of

their claims. The requested participation is also not essential to the ability of these individuals to

present their claims at an eventual trial on the merits. The December 15, 2008 hearing involves

Biros’ preliminary injunction, a notably specific and non-dispositive matter, and this Court will

not permit parties to turn that narrow proceeding into an expedited trial on the merits.

       The Court in its discretion therefore DENIES the September 24, 2008 Motion to

Participate in Plaintiff Biros’ Preliminary Injunction Discovery and Evidentiary Hearing

Proceedings filed by Plaintiffs James Conway and Marvin Johnson. (Docs. # 401, 402.)

       IT IS SO ORDERED.
                                                            /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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